                    EXHIBIT K




Case 1:22-cv-00828-TDS-JEP   Document 276-1   Filed 12/09/24   Page 1 of 18
From:                Elliot Gee <egee@dowdscheffel.com>
Sent:                Friday, December 6, 2024 6:33 PM
To:                  O'Toole, Daniel; Matthew Dowd; Kane, Patrick M.
Cc:                  McClammy, James I.; Miller, Benjamin M.; Thomson, Daniel J.; English, Melissa
Subject:             Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
                     Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)
Attachments:         ATTFTCSYN00001 - HIGHLY CONFIDENTIAL.pdf; 2024-12-06 Ltr to Syngenta.pdf


Daniel,

Please find attached correspondence as well as Atticus’s current organizational chart, which is being produced as
HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.

Sincerely,

Elliot Gee
Associate,




1717 Pennsylvania Avenue, NW, Suite 1025 | Washington, DC 20006
Office: 202.559.9175 | Direct: 650.534.5302
http://www.dowdscheffel.com




From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Date: Tuesday, November 26, 2024 at 11:40 AM
To: Matthew Dowd <mdowd@dowdscheffel.com>, Kane, Patrick M. <PKane@foxrothschild.com>, Elliot
Gee <egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>, Miller, Benjamin M.
<benjamin.miller@davispolk.com>, Thomson, Daniel J. <daniel.thomson@davispolk.com>, English,
Melissa <melissa.english@davispolk.com>
Subject: FW: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty
Program Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Hi Matt,

Just wanted to see if you had any updates on the below. We are happy to speak today or tomorrow if helpful.

Best,
Dan

Daniel O'Toole
Davis Polk & Wardwell LLP


                                                                                                                 2

             Case 1:22-cv-00828-TDS-JEP            Document 276-1          Filed 12/09/24       Page 2 of 18
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Sent: Friday, November 22, 2024 9:57 PM
To: Matthew Dowd <mdowd@dowdscheffel.com>; Kane, Patrick M. <PKane@foxrothschild.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Matt,

Thank you for the meet and confer earlier today. We are writing with the follow-up items we discussed. We
are available to speak again on Monday at 3-3:30pm or 4-5pm ET, or Tuesday from 10-11am, 11:30-1:30pm,
or 2:30-4pm ET.

Document Collections and Productions

Attached are proposed search terms that Syngenta requests Atticus run over the emails and documents of to-
be-agreed-upon custodians, from 2015 to present.

We understand that Atticus CEO Randy Canady was one custodian for Atticus’s document productions in
response to the FTC’s pre-complaint CID. Please confirm the identities of any other custodians for which
Atticus produced documents in response to the FTC’s CID. Please also send us a recent organizational chart
for Atticus.

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margin data covering products containing azoxystrobin, s-metolachlor, mesotrione, oxamyl, and rimsulfuron
(file labeled “ATTICUSFTC009534”). The table below contains the active ingredients alleged in the complaints
and certain functional equivalents to those active ingredients. From public information, we understand that
Atticus currently sells products that contain the active ingredients marked with an “X” in the fourth column in
the table below.

We request that Atticus:

    1. Produce supplemental data, in the form of ATTICUSFTC009534, for all products sold by Atticus from
       2015 (or the earliest date after 2015 for which data are available) to present that contain any active
       ingredient marked with an “X” in the fourth column below (in each instance, either as a single AI product
       or a mixture product); and

    2. Confirm that Atticus has not sold any products containing any other AI on the below list since 2015 (or
       the earliest date after 2015 for which data are available), or, to the extent that Atticus has, add those
       products into the data production outlined in (1) above.


                                                                                    Currently Sold by
                                                             Resistance Action
           Category             Active Ingredient                                   Atticus per Public
                                                             Committee group
                                                                                       information
         Fungicides       azoxystrobin                      FRAC 11                         X
         Fungicides       benzovindiflupyr                  FRAC 7


                                                                                                                 3

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         Fungicides       chlorothalonil                FRAC M5
         Fungicides       fluoxastrobin                 FRAC 11
         Fungicides       picoxystrobin                 FRAC 11
         Fungicides       pydiflumetofen                FRAC 7
         Fungicides       pyraclostrobin                FRAC 11
         Fungicides       trifloxystrobin               FRAC 11
         Herbicides       fomesafen                     HRAC 14                     X
         Herbicides       mesotrione                    HRAC 27                     X
         Herbicides       s-metolachlor/metolachlor     HRAC 15                     X
         Herbicides       paraquat                      HRAC 22
         Herbicides       acetochlor                    HRAC 15                     X
         Herbicides       atrazine                      HRAC 5
         Herbicides       bicyclopyrone                 HRAC 27
         Herbicides       dicamba                       HRAC 4                      X
         Herbicides       dimethenamid/dimethenamid-p   HRAC 15
         Herbicides       diquat                        HRAC 22                     X
         Herbicides       flumioxazin                   HRAC 14                     X
         Herbicides       fluthiacet-methyl             HRAC 14
         Herbicides       glufosinate                   HRAC 10                     X
         Herbicides       glyphosate                    HRAC 9
         Herbicides       isoxaflutole                  HRAC 27
         Herbicides       metribuzin                    HRAC 5                      X
         Herbicides       pyroxasulfone                 HRAC 15
         Herbicides       saflufenacil                  HRAC 14
         Herbicides       sulfentrazone                 HRAC 14                     X
         Herbicides       tembotrione                   HRAC 27
         Herbicides       topramezone                   HRAC 27
         Insecticides     lambda-cyhalothrin            IRAC 3A                     X
         Insecticides     abamectin                     IRAC 6                      X
         Insecticides     bifenthrin                    IRAC 3A                     X
         Insecticides     cyfluthrin                    IRAC 3A                     X
         Insecticides     Cypermethrin (and variants)   IRAC 3A                     X
         Insecticides     deltamethrin                  IRAC 3A
         Insecticides     esfenvalerate                 IRAC 3A
         Insecticides     imidacloprid                  IRAC 4A                     X
         Insecticides     permethrin                    IRAC 3A
         Insecticides     tefluthrin                    IRAC 3A



Daniel O'Toole
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+1 202 962 7166 office
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daniel.otoole@davispolk.com


From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Friday, November 22, 2024 10:03 AM


                                                                                                       4

           Case 1:22-cv-00828-TDS-JEP             Document 276-1   Filed 12/09/24       Page 4 of 18
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Kane, Patrick M. <PKane@foxrothschild.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

We should be free from 12:30 to 1 PM ET.

From: "O'Toole, Daniel" <daniel.otoole@davispolk.com>
Date: Friday, November 22, 2024 at 10:00 AM
To: Matthew Dowd <mdowd@dowdscheffel.com>, "Kane, Patrick M." <PKane@foxrothschild.com>, Elliot Gee
<egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Thanks, Matt. Would you be available 12:30-1:30 ET today?

Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Friday, November 22, 2024 8:29 AM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Kane, Patrick M. <PKane@foxrothschild.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Dan,

Thank you for the email and for your patience with our reply.

Would you be available for a call later this afternoon?

Best,
Matt

From: "O'Toole, Daniel" <daniel.otoole@davispolk.com>
Date: Thursday, November 21, 2024 at 1:04 PM
To: Matthew Dowd <mdowd@dowdscheffel.com>, "Kane, Patrick M." <PKane@foxrothschild.com>, Elliot Gee
<egee@dowdscheffel.com>

                                                                                                                 5

           Case 1:22-cv-00828-TDS-JEP              Document 276-1          Filed 12/09/24       Page 5 of 18
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Matt,

Thank you for agreeing to accept service. Syngenta continues to remain willing to work with Atticus regarding
Syngenta's subpoena to narrow or eliminate the potential issues that the court must decide as part of our
motion to compel. Please let us know if you are interested in discussing.

Thanks,
Dan

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daniel.otoole@davispolk.com


From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Tuesday, November 19, 2024 4:30 PM
To: Kane, Patrick M. <PKane@foxrothschild.com>; O'Toole, Daniel <daniel.otoole@davispolk.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Thank you. We confirm that we accept service.


Matthew J. Dowd
Dowd Scheffel PLLC
1717 Pennsylvania Avenue, NW
Suite 1025
Washington, D.C. 20006
Direct: (202) 573-3853
Office: (202) 559-9175
mdowd@dowdscheffel.com
http://www.dowdscheffel.com
http://www.linkedin.com/in/matthewdowd




From: "Kane, Patrick M." <PKane@foxrothschild.com>
Date: Tuesday, November 19, 2024 at 10:25 AM
To: "O'Toole, Daniel" <daniel.otoole@davispolk.com>, Matthew Dowd <mdowd@dowdscheffel.com>, Elliot
Gee <egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."

                                                                                                                 6

           Case 1:22-cv-00828-TDS-JEP              Document 276-1          Filed 12/09/24       Page 6 of 18
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)



Mr. Dowd and Mr. Gee,

For your records here are the same documents filed last night in the MDL. You will also be receiving all
documents filed in both cases in hard copy tomorrow via FedEx.

Pat




 Patrick M Kane
 Partner
 230 N. Elm Street
 Suite 1200
 Greensboro, NC 27401
     (336) 378-5352
     (336) 378-5400
     pkane@foxrothschild.com


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From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Sent: Monday, November 18, 2024 11:33 PM
To: mdowd@dowdscheffel.com; egee@dowdscheffel.com
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Kane, Patrick M. <PKane@foxrothschild.com>; Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa
<melissa.english@davispolk.com>
Subject: [EXT] FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Mr. Dowd and Mr. Gee,

Attached please find Syngenta's motion to compel filed today in the above-captioned cases in the United
States District Court for the Middle District of North Carolina relating to the subpoena issued by Syngenta to
your client Atticus, LLC. Please confirm that you still represent Atticus in connection with this subpoena as
previously indicated by your acceptance of service of the subpoena and service of Atticus’s responses and
objections, and please also confirm your ability to accept service of this motion and brief.

If we do not receive confirmation of your continued representation by 5PM ET tomorrow, Tuesday, November
19, 2024, we will serve this on the registered agent of Atticus.

                                                                                                          7

          Case 1:22-cv-00828-TDS-JEP            Document 276-1         Filed 12/09/24     Page 7 of 18
Regards,
Dan O’Toole
Daniel O'Toole
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


Davis Polk & Wardwell LLP
Confidentiality Note: This email is intended only for the person or entity to which it is addressed and may contain information that is privileged, confidential or otherwise
protected from disclosure. Unauthorized use, dissemination, distribution or copying of this email or the information herein or taking any action in reliance on the contents of
this email or the information herein, by anyone other than the intended recipient, or an employee or agent responsible for delivering the message to the intended recipient, is
strictly prohibited. If you have received this email in error, please notify the sender immediately and destroy the original message, any attachments thereto and all copies.
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employee or agent authorized to receive for the intended recipient, you may not copy, disclose or use any contents in
this email. If you have received this email in error, please immediately notify the sender at Fox Rothschild LLP by replying
to this email and delete the original and reply emails. Thank you.




                                                                                                                                                                   8

               Case 1:22-cv-00828-TDS-JEP                                 Document 276-1                    Filed 12/09/24                 Page 8 of 18
From:                                                                                                                                                   Kane, Patrick M. <PKane@foxrothschild.com>
Sent:                                                                                                                                                   Wednesday, November 27, 2024 10:32 AM
To:                                                                                                                                                     O'Toole, Daniel; Matthew Dowd; Elliot Gee
Cc:                                                                                                                                                     McClammy, James I.; Miller, Benjamin M.; Thomson, Daniel J.; English, Melissa; Placey, Sean
Subject:                                                                                                                                                RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
                                                                                                                                                        Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)




Matt,

Can you please let us know who Atticus’s MDNC counsel is so I can communicate with them about the
logistics of the Motion and hearing as we continue to move through briefing?

Thanks, and I hope you have a happy Thanksgiving.

Pat


                                  To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
                                  Fox Logo




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 Patrick M Kane
 Partner
 101 S. Tryon Street
 Suite 1700
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 -and-

 230 N. Elm Street
 Suite 1200
 Greensboro, NC 27401
                336.378.5352 (office)
                336.671.4600 (cell)
                pkane@foxrothschild.com
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                                                                                                                                                                                                                                                    9

                                                                                                                  Case 1:22-cv-00828-TDS-JEP                                          Document 276-1          Filed 12/09/24       Page 9 of 18
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                                                                                                                10

           Case 1:22-cv-00828-TDS-JEP             Document 276-1          Filed 12/09/24       Page 10 of 18
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   (2) Confirm that Atticus has not sold any products containing any other AI on the below list since 2015 (or
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                                                         Resistance Action
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                                                         Committee group
                                                                                  information
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        Fungicides      chlorothalonil                  FRAC M5
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        Fungicides      trifloxystrobin                 FRAC 11
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        Herbicides      mesotrione                      HRAC 27                        X
        Herbicides      s-metolachlor/metolachlor       HRAC 15                        X
        Herbicides      paraquat                        HRAC 22
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        Herbicides      atrazine                        HRAC 5
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        Herbicides      dicamba                         HRAC 4                         X
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        Herbicides      fluthiacet-methyl               HRAC 14
        Herbicides      glufosinate                     HRAC 10                        X
        Herbicides      glyphosate                      HRAC 9
        Herbicides      isoxaflutole                    HRAC 27
        Herbicides      metribuzin                      HRAC 5                         X
        Herbicides      pyroxasulfone                   HRAC 15
        Herbicides      saflufenacil                    HRAC 14
        Herbicides      sulfentrazone                   HRAC 14                        X
        Herbicides      tembotrione                     HRAC 27
        Herbicides      topramezone                     HRAC 27
        Insecticides    lambda-cyhalothrin              IRAC 3A                        X


                                                                                                        11

         Case 1:22-cv-00828-TDS-JEP              Document 276-1      Filed 12/09/24        Page 11 of 18
         Insecticides     abamectin                         IRAC 6                           X
         Insecticides     bifenthrin                        IRAC 3A                          X
         Insecticides     cyfluthrin                        IRAC 3A                          X
         Insecticides     Cypermethrin (and variants)       IRAC 3A                          X
         Insecticides     deltamethrin                      IRAC 3A
         Insecticides     esfenvalerate                     IRAC 3A
         Insecticides     imidacloprid                      IRAC 4A                          X
         Insecticides     permethrin                        IRAC 3A
         Insecticides     tefluthrin                        IRAC 3A




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From: Matthew Dowd <mdowd@dowdscheffel.com>
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Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

We should be free from 12:30 to 1 PM ET.

From: "O'Toole, Daniel" <daniel.otoole@davispolk.com>
Date: Friday, November 22, 2024 at 10:00 AM
To: Matthew Dowd <mdowd@dowdscheffel.com>, "Kane, Patrick M." <PKane@foxrothschild.com>, Elliot Gee
<egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Thanks, Matt. Would you be available 12:30-1:30 ET today?



Daniel O'Toole
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+1 203 883 1123 mobile
daniel.otoole@davispolk.com




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From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Friday, November 22, 2024 8:29 AM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Kane, Patrick M. <PKane@foxrothschild.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Dan,

Thank you for the email and for your paƟence with our reply.

Would you be available for a call later this aŌernoon?

Best,
MaƩ

From: "O'Toole, Daniel" <daniel.otoole@davispolk.com>
Date: Thursday, November 21, 2024 at 1:04 PM
To: Matthew Dowd <mdowd@dowdscheffel.com>, "Kane, Patrick M." <PKane@foxrothschild.com>, Elliot Gee
<egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Matt,

Thank you for agreeing to accept service. Syngenta continues to remain willing to work with Atticus regarding
Syngenta's subpoena to narrow or eliminate the potential issues that the court must decide as part of our
motion to compel. Please let us know if you are interested in discussing.

Thanks,
Dan



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daniel.otoole@davispolk.com


From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Tuesday, November 19, 2024 4:30 PM
To: Kane, Patrick M. <PKane@foxrothschild.com>; O'Toole, Daniel <daniel.otoole@davispolk.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim

                                                                                                                13

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<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Thank you. We confirm that we accept service.


Matthew J. Dowd
Dowd Scheffel PLLC
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Suite 1025
Washington, D.C. 20006
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mdowd@dowdscheffel.com
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http://www.linkedin.com/in/matthewdowd




From: "Kane, Patrick M." <PKane@foxrothschild.com>
Date: Tuesday, November 19, 2024 at 10:25 AM
To: "O'Toole, Daniel" <daniel.otoole@davispolk.com>, Matthew Dowd <mdowd@dowdscheffel.com>, Elliot
Gee <egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)



Mr. Dowd and Mr. Gee,

For your records here are the same documents filed last night in the MDL. You will also be receiving all
documents filed in both cases in hard copy tomorrow via FedEx.

Pat




 Patrick M Kane
 Partner

 230 N. Elm Street
 Suite 1200
 Greensboro, NC 27401



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        (336) 378-5352
        (336) 378-5400
        pkane@foxrothschild.com


Learn about our new brand.




From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Sent: Monday, November 18, 2024 11:33 PM
To: mdowd@dowdscheffel.com; egee@dowdscheffel.com
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Kane, Patrick M. <PKane@foxrothschild.com>; Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa
<melissa.english@davispolk.com>
Subject: [EXT] FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Mr. Dowd and Mr. Gee,

Attached please find Syngenta's motion to compel filed today in the above-captioned cases in the United
States District Court for the Middle District of North Carolina relating to the subpoena issued by Syngenta to
your client Atticus, LLC. Please confirm that you still represent Atticus in connection with this subpoena as
previously indicated by your acceptance of service of the subpoena and service of Atticus’s responses and
objections, and please also confirm your ability to accept service of this motion and brief.

If we do not receive confirmation of your continued representation by 5PM ET tomorrow, Tuesday, November
19, 2024, we will serve this on the registered agent of Atticus.

Regards,
Dan O’Toole


Daniel O'Toole
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Davis Polk & Wardwell LLP
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this email. If you have received this email in error, please immediately notify the sender at Fox Rothschild LLP by replying
to this email and delete the original and reply emails. Thank you.




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                                1717 Pennsylvania Avenue, NW
                                           Suite 1025
                                    Washington, D.C. 20006
                                         (202) 559-9175
                                 https://www.dowdscheffel.com



Via Electronic Mail

December 6, 2024

Daniel O’Toole
Davis Polk & Wardwell LLP
901 15th Street NW,
Washington, D.C. 20005
daniel.otoole@davispolk.com

       Re:     Rule 45 Subpoena to Atticus, LLC in Federal Trade Commission v.
               Syngenta Crop Protection AG, No. 1:22-CV-00828 (M.D.N.C.)

Dear Daniel:

       We write on behalf of Atticus, LLC (“Atticus”) to provide Syngenta AG, Syngenta Crop
Protection LLC, Syngenta Corp., and Syngenta Crop Protection (“Syngenta”) with an update
on Atticus’s objections and response to the Syngenta subpoenas served on Atticus on or
around August 6, 2024. This letter continues Atticus’s good-faith effort to resolve the pending
dispute concerning the subpoenas. While Atticus maintains its objections to the subpoenas,
Atticus remains willing to undertake reasonable efforts for a third party to produce the re-
quested information and documents.

        First, as Syngenta certainly understands, Syngenta has an obligation to minimize At-
ticus’s burden and expenses in responding to a Rule 45 subpoena. Courts are required to
allocate costs and fees for significant expenses incurred by a third party. See, e.g., Fed. R.
Civ. P. 45(d)(2)(B)(ii); Linder v. Calero-Porcarrero, 251 F.3d 178, 182 (D.C. Cir. 2001); Med.
Components, Inc v. Classic Med., Inc., 210 F.R.D. 175, 180 n.9 (M.D.N.C. 2002) (“[T]he court
should give special weight to the unwanted burden thrust upon non-parties when evaluating
the balance of competing needs.” (citing In re Cusumano v. Microsoft Corp., 162 F.3d 708, 717
(1st Cir. 1998))). Given the breadth of Syngenta’s subpoena and the burden imposed by it on
Atticus, Atticus intends to seek reimbursement of the anticipated significant costs for re-
sponding to the subpoena. See Fed. R. Civ. P. 26(c)(1)(B) (“the allocation of expenses”). Please
confirm whether Syngenta will agree to reimburse Atticus for its reasonable costs and ex-
penses for responding to the subpoena.




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December 6, 2024
Daniel O’Toole

        Second, in response to your November 22, 2024 email, Atticus provides several correc-
tions to your active-ingredient table. Based on our review, Atticus has at one or more times
since 2015 sold pesticide products containing one or more of the following active ingredients:
azoxystrobin; chlorothalonil; fomesafen; mesotrione; S-metolachlor/metolachlor; paraquat;
dicamba; diquat; flumioxazin; glufosinate; metribuzin; sulfentrazone; lambda-cyhalothrin;
abamectin; bifenthrin; cyfluthrin; zeta-cypermethrin; deltamethrin; and imidacloprid.

        Third, many of Syngenta’s proposed search strings are wildly overbroad. For example,
Syngenta’s proposed Boolean search string for “Product Concerns” seeks a set of twenty-one
words located within twenty words of a second set of thirty-one words. Accordingly, this
search string alone results in 651 distinct combinations of search terms. The proposed search
string for “Relevant Crop Protection Product Business Plans” contains two internal “within”
terms that further add to the extraordinary breadth of the proposed search. Indeed, our
preliminary analysis of the proposed search strings indicate that such search would identify
tens of thousands of documents amounting to hundreds of gigabytes of data. Such a search
is plainly not reasonable for a third party.

      We are willing to meet and confer to discuss options for reaching a reasonable com-
promise.

       Fourth, Atticus confirms that Randy Canady was a custodian of documents produced
in response to the FTC’s CID. Other custodians of the documents produced in response to
the CID will be identifiable in the metadata associated with that production.

       Fifth, as requested, please find attached Atticus’s current organizational chart, which
is being produced as HIGHLY CONFIDENTIAL—OUTSIDE COUNSEL EYES ONLY, in
accordance with the applicable Protective Orders.

        Atticus proposes that the parties arrange a meet and confer during the week of De-
cember 9, 2024, to continue the parties’ ongoing discussion. Please also let us know if there
is any further information that Syngenta would like at this time. Thank you again for your
patience as Atticus works to prepare a responsive production while minimizing the cost and
burden on Atticus as a non-party to this litigation.



                                                         Sincerely,




                                                         Matthew J. Dowd

                                                         Counsel for Non-Party
                                                         Atticus, LLC




Dowd Scheffel PLLC                            2
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